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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                      GAINESVILLE DIVISION
FAIR FIGHT, INC., JOHN DOE, and
JANE DOE,
                  Plaintiffs,                   Case No. ______________

     v.
TRUE THE VOTE, CATHERINE                              MEMORANDUM OF
ENGELBRECHT, DEREK                                   LAW IN SUPPORT OF
SOMERVILLE, MARK DAVIS, MARK                            MOTION TO
WILLIAMS, RON JOHNSON, JAMES                             PROCEED
COOPER, and JOHN DOES 1-10,                            ANONYMOUSLY
                  Defendants.


     Plaintiffs Fair Fight Inc., John Doe, and Jane Doe, by and through the

undersigned attorneys, file this Memorandum in Support of Their Motion to

Proceed Anonymously. Plaintiffs John and Jane Doe (“Does”) seek to proceed

anonymously given the real threats of voter intimidation as detailed in the

Complaint. Further, the Does fear retaliation for having filed the lawsuit,

especially as their addresses will be matters of public record.

     As claims of voter fraud in Georgia have reached feverish heights in recent

weeks, Georgia’s election workers have been the subject of significant threats of
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    violence. 1 An election worker in Gwinnett County, for example, received death

    threats and unnamed individuals laid out a noose along with a statement that he

    should be hung for treason.2 These threats ultimately reached such a boiling point

    that a Georgia Republican election official pleaded to the public that if these claims

    of voter fraud continue, “[s]omeone’s going to get hurt, someone’s going to get

    shot, someone’s going to get killed.” 3

         By contrast, the Does are private individuals whose only involvement in

    Georgia elections are as voters. They are active members of the community, with

    active ties (and work) in Georgia. Their professional positions put them in regular

    contact with the public, which heightens the risks they face in proceeding in this

    lawsuit. Indeed, this case is about voter intimidation and the culture of fear and

    distrust that Defendants and aligned groups have sown in recent weeks in Georgia.

         Due to the activities of Defendants and aligned groups, the threat of election-

    related violence is very real in Georgia. This is an exceptional case warranting the

    use of pseudonyms, just as it is exceptional that a top state election official would


1
  Stephen Fowler, ‘Someone’s Going to Get Killed’: Ga. Official Blasts GOP Silence
on Election Threats, NPR (Dec. 1, 2020), https://www.npr.org/sections/biden-
transition-updates/2020/12/01/940961602/someones-going-to-get-killed-ga-
official-blasts-gop-silence-on-election-threats (noting reports of harassment and
death threats against officials overseeing the state's recount).
2
  Id.
3
  Id.
                                              2
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 warn, “someone is going to get killed” if the claims of voter fraud continue.

 Accordingly, Plaintiffs respectfully request that the Court allow the case to

 proceed on an anonymous basis with respect to Plaintiffs John and Jane Doe.

                                   ARGUMENT
A.    Legal Standard
      While Federal Rule of Civil Procedure 10(a) generally requires that the

Complaint name all the parties, the Eleventh Circuit has recognized that plaintiffs

should be permitted to proceed anonymously in “exceptional cases involving matters

of a highly sensitive and personal nature, real danger of physical harm, or where the

injury litigated against would be incurred as a result of the disclosure of the

plaintiff’s identity.” Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992). The Eleventh

Circuit has explained that “whether a party’s right to privacy overcomes the

presumption of judicial openness is a totality-of-the-circumstances question”

reserved to the trial court’s discretion. In re: Chiquita Brands Int’l, Inc., 965 F.3d

1238, 1246-47 (11th Cir. 2020) (noting appellate review is “extremely limited and

highly deferential”). Factors that courts consider include whether the plaintiff (1) is

challenging government activity; (2) would be compelled, absent anonymity, to

disclose information of utmost intimacy; or (3) would be compelled, absent

anonymity, to admit an intent to engage in illegal conduct and thus risk criminal


                                           3
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prosecution. Id. at 1247. Other factors to consider include whether the party seeking

anonymity is a minor or faces a real threat of physical harm absent anonymity and

whether the party’s requested anonymity poses a unique threat of fundamental

unfairness to the defendant. Id. (citations omitted).

      In applying these standards, Georgia federal courts have allowed litigants to

pursue an action under a pseudonym to protect parties in various contexts. See, e.g.,

Doe v. Barrow Cnty., Ga., 219 F.R.D. 189, 194 (N.D. Ga. 2003) (granting anonymity

in lawsuit challenging display of the Ten Commandments in a courthouse); Ga.

Advoc. Off. v. Jackson, No. 1:19-CV-1634-WMR-JFK, 2019 WL 8501278, at *2

(N.D. Ga. July 3, 2019) (granting anonymity for psychiatric patients); S.W. v.

Clayton Cnty. Pub. Schs., No. 1:16-CV-0126-TCB, 2016 WL 8943337, at *2 (N.D.

Ga. May 9, 2016) (allowing anonymity in case involving minor and alleged sexual

assault).

B.    Proceeding Anonymously is Warranted Here Because the Does Face the
      Risk of Immediate Harm.
      This is an exceptional case requiring anonymity. The Does fear immediate

 retaliation for their participation in this lawsuit. Their fears are well-founded.

 Compl. ¶ 60. Defendants have published lists of hundreds of thousands of

 Georgians, including the Does, who Defendants claim are ineligible to vote. They

 have also recruited volunteers to monitor voters as they return their ballots, urged

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    “citizen watchdogs” to take photos and videos of illegal activity, and now have

    established a $1 million bounty to “incentivize” individuals to accuse voters of

    “election malfeasance.” Id. ¶¶ 57-61.

         Despite a lack of credible evidence and consistent defeats in Georgia courts

    and courts around the country, Defendants and aligned groups persist with claims

    of widespread election fraud, which have fomented threats of violence and

    harassment of Georgia’s election workers. One Georgia election worker was even

    forced to go into hiding after his personal information was posted online. Compl.

    ¶ 35. And despite an election official’s public plea that “[s]omeone is going to get

    hurt, someone is going to get shot, someone is going to get killed,” id. ¶ 36,

    Defendants have continued to feed the ongoing frenzy of baseless accusations.

         As private individuals, the Does are aware of the real threat of doxing and/or

    swatting that may arise from the publication of their individual names, especially

    Does’ addresses are publicly available as part of the Defendants’ published voter

    lists.4 Doxing, the act of “broadcasting personally identifiable information about


4
  See Press Release, U.S. Dep’t of Justice, New York Man Sentenced To 24 Months
in Prison For Internet Offenses, Including “Doxing,” “Swatting,” Making a False
Bomb Threat, and Cyber-Stalking (July 11, 2016), https://www.justice.gov/usao-
dc/pr/new-york-man-sentenced-24-months-prison-internet-offenses-including-
doxing-
swatting#:~:text=WASHINGTON%20%E2%80%93%20Mir%20Islam%2C%202

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 an individual on the Internet,” can embarrass, intimidate, or otherwise harm

 individuals, including voters. 5

      The Does are private individuals who have done nothing wrong. They are

 Georgians, but currently traveling in and out of the state for work and family

 obligations. They maintain their Georgia residence, and Jane Doe continues to

 work in Georgia. They are both professionals who have regular contact with

 members of the community, and as such, have the very real fear of harassment or

 violence if their names were known publicly in association with this suit.

      The Court can provide the Does with protection from harassment,

intimidation, retaliation, and even violence by permitting these plaintiffs to proceed

anonymously.

                                    CONCLUSION
      For the reasons stated above, the Does request leave of this Court to proceed

anonymously.




2%2C,and%20a%20pattern%20of%20online (“The publication of the victims’
personal identifying information also reveal[s] to any other would-be harassers or
assailants how and where to contact the victims.”).
5
  Joey L. Blanch & Wesley L. Hsu, An Introduction to Violent Crime on the Internet,
The U.S. Att’ys’ Bull., Vol. 64, No. 3, May 2016, at 5.
                                          6
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                     CERTIFICATE OF COMPLIANCE
      I hereby certify the foregoing was prepared in accordance with the Local

Rules on font and typeface.

      Respectfully submitted, this, the 23rd day of December, 2020.

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